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 1    CARLYON CICA CHTD.
      CANDACE C. CARLYON, ESQ.
 2    Nevada Bar No. 2666
      DAWN M. CICA, ESQ.
 3    Nevada Bar No. 5465
      TRACY M. O’STEEN, ESQ.
 4    Nevada Bar No. 10949
      265 E. Warm Springs Road, Suite 107
 5    Las Vegas, NV 89119
      Counsel for DRC
 6
                                UNITED STATES BANKRUPTCY COURT
 7
                                     FOR THE DISTRICT OF NEVADA
 8
     In re:                                             Case No.: BK-19-15172-ABL
 9                                                      Chapter 11
     NATIONAL MERCHANDISING SERVICES,
10   LLC                                                Jointly administered with:

11                                                      Edward Steven Burdekin,
              Affects this Debtor.
                                                           Case No. BK-19-15175-ABL; and
12
                                                        National Store Retail Services, LLC,
13            Affects all Debtors.                           Case No. BK-19-15174-ABL

14                                                      NOTICE OF HEARING ON MOTION OF
              Affects Edward Steven Burdekin.           DONLIN, RECANO & COMPANY, INC.
15                                                      FOR PAYMENT OF ADMINISTRATIVE
                                                        EXPENSE CLAIM
16            Affects National Store Retail Services,
              LLC.                                      Hearing Date: December 16, 2020
17                                                      Hearing Time: 1:30 p.m.

18
     TO: ALL PARTIES IN INTEREST
19
              NOTICE IS HEREBY GIVEN that on November 13, 2020, the Claims and Noticing Agent
20
     for the above captioned debtors, Donlin, Recano & Company, Inc. (“DRC”), by and through its
21
     counsel, the law firm of Carlyon Cica Chtd., filed its Motion of Donlin, Recano, & Company, Inc.
22
     for Payment of Administrative Expense Claim [Docket No. 150] (the “Motion”). The Motion seeks
23
     payment of the amount of $16,833.85.
24
              A copy of the Motion may be obtained from DRC’s counsel at the contact information
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     appearing on the top corner of this page or may be viewed at the office of the bankruptcy clerk, 300
26
     Las Vegas Blvd., Las Vegas, NV 89101.
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              The hearing will be held on the December 16, 2020 at 1:30 p.m. before a United States
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 1   Bankruptcy Judge in the Foley Federal Building, 300 Las Vegas Blvd. South, Las Vegas, Nevada

 2   89101.

 3             PLEASE TAKE FURTHER NOTICE that any opposition to the requested relief must be

 4   filed and served pursuant to Local Rule 9014(d)(1), which provides:

 5                . . . [a]ny opposition to a motion must be filed, and service of the opposition
                  must be completed on the movant, no later than fourteen (14) days preceding
 6                the hearing date for the motion. The opposition must set forth all relevant facts
                  and any relevant legal authority. An opposition must be supported by affidavits
 7
                  or declarations that conform to the provisions of subsection (c) of this rule.
 8
              If you object to the relief requested, you must file a WRITTEN response to this
 9
              pleading with the court. You must also serve your written response on the person who
10
              sent you this notice.
11
           If you do not file a written response with the court, or if you do not serve your written
12
              response on the person who sent you this notice, then:
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                    The court may refuse to allow you to speak at the scheduled hearing; and
14
                    The court may rule against you without formally calling the matter at the
15
                     hearing.
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               PLEASE TAKE FURTHER NOTICE that this hearing may be continued from time to
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     time without further notice except for the announcement of any adjourned dates and times at the
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     above-noticed hearing or any adjournment thereof, and the court may approve modifications at the
19
     hearing or any continued hearing.
20
              DATED this 13th day of November.        CARLYON CICA, CHTD.
21
                                                      /s/ Tracy M. O’Steen, Esq.
22                                                    CANDACE C. CARLYON, ESQ.
                                                      Nevada Bar No.2666
23                                                    DAWN M. CICA, ESQ.
                                                      Nevada Bar No. 4565
24                                                    TRACY M. O’STEEN, ESQ.
                                                      Nevada Bar No. 10949
25                                                    265 E. Warm Springs Road, Suite 107
                                                      Las Vegas, NV 89119
26                                                    Counsel for DRC
27

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